8:12-cr-00070-RFR-SMB        Doc # 340     Filed: 01/07/13     Page 1 of 2 - Page ID # 1163




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )             CASE NO. 8:12CR70
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )             TENTATIVE FINDINGS
                                               )
ALEX BRABLEC,                                  )
                                               )
              Defendant.                       )

       The Court has received the Revised Presentence Investigation Report (“PSR”). The

parties have not objected to the PSR. See Order on Sentencing Schedule, ¶ 6. The

Defendant adopted the PSR. See, Defendants Statement Regarding Revised Presentence

Investigation Report, Filing No. 337. The Court advises the parties that these Tentative

Findings are issued with the understanding that, pursuant to United States v. Booker, 2005

WL 50108 (U.S. Jan. 12, 2005), the sentencing guidelines are advisory.

       Accordingly,

       IT IS ORDERED:

       1.     The Court intends to adopt the PSR at the time of sentencing;

       2.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;
8:12-cr-00070-RFR-SMB        Doc # 340    Filed: 01/07/13   Page 2 of 2 - Page ID # 1164




       3.     Absent submission of the information required by paragraph 2 of this Order,

these tentative findings are final; and

       4.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 7th day of January, 2013.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge




                                            2
